      Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 1 of 10
                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                     IN THE UNITED STATES DISTRICT COURT                   December 12, 2017
                      FOR THE SOUTHERN DISTRICT OF TEXAS                    David J. Bradley, Clerk
                               HOUSTON DIVISION



TINA ALEXANDER,                         §
                                        §
                     Plaintiff,         §
                                        §
v.                                      §
                                        §
WELLS FARGO BANK, N .A. f/k/a           §             CIVIL ACTION NO. H-15-1596
WACHOVIA MORTGAGE, FSB f/k/a            §
WORLD SAVINGS BANK, FSB,                §
Its Successors and/or Assigns,          §
and DOES 1-10,                          §
                                        §
                     Defendants.        §



                        MEMORANDUM OPINION AND ORDER


        Plaintiff Tina Alexander ("Alexander" or "Plaintiff") , pro se,

brings     this    action on remand     from    the    Fifth Circuit        Court        of

Appeals against defendant Wells Fargo Bank, N.A., formerly known as

Wachovia Mortgage, FSB, formerly known as World Savings Bank, FSB

("Wells Fargo"       or "Defendant") . 1       Pending before the court are

Plaintiff's Motion for Summary Judgment ("Plaintiff's MSJ")                    (Docket

Entry No. 36) and Defendant's Motion for Summary Judgment and Brief

in Support        ("Defendant's MSJ")       (Docket Entry No.      39).       For the

reasons stated below, Plaintiff's MSJ will be denied, Defendant's

MSJ    will   be   granted,   and   this     action    will   be   dismissed         with

prejudice.


       1
     See Plaintiff's Original Petition and Request for Declaratory
Judgement and Temporary Rest [r] aining Order ("Petition"), Exhibit E
to Notice of Removal, Docket Entry No. 6-5, pp. 2-31.
     Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 2 of 10



              I.      Undisputed Facts and Procedural Background

       On September 15, 1998, Alexander executed a promissory note in

the amount of $296,000.00 made payable to Defendant. 2                  She also

executed a Deed of Trust to secure its repayment                  (together,   the

"Loan"), granting Defendant a security interest in her home located

at   12318         Mossycup,   Houston,    Texas   77024   (the    "Property") . 3

Plaintiff and World Savings executed an Acknowledgment of Value

("Acknowledgment") on September 15, 1998,             in connection with the

Loan. 4      Referring to the Property it states "World and Borrower

each acknowledge that, as of the date of the extension of the loan,

the fair market value of the homestead is $375,000.00." 5              Plaintiff

signed the Acknowledgment, and her signature is notarized. 6


       2
      See Note, Texas Equity Fixed Rate - First Lien, Exhibit 1 to
Petition, Docket Entry No. 6-5, pp. 33-36. World Savings Bank was
the original lender. World Savings Bank, FSB changed its name to
Wachovia Mortgage, which later merged into Wells Fargo.        See
Ogundipe v. Wells Fargo Bank, N.A., Civil Action No. H-11-2387,
2012 WL 3234211, at *1 (S.D. Tex. Aug. 6, 2012) ("It is undisputed
that World Savings Bank changed its name to Wachovia Mortgage, and
that Wachovia Mortgage subsequently merged into Wells Fargo.") ;
Olaoye v. Wells Fargo Bank, NA, Civil Action No. 4:11-cv-772-Y,
2012 WL 1082307, at *1 n.1, *3 n.4 (N.D. Tex. April 2, 2012).
Since the name of the bank at the time is not relevant to this
opinion, Wells Fargo and its predecessors are referred to as
Defendant.
      3
      See Texas Equity Deed of Trust, Exhibit 2 to Petition, Docket
Entry No. 6-5, pp. 38-50.
      4
     Acknowledgment, Exhibit 1 (C) to Declaration of Richard L.
Penno ("Penno Declaration"), Docket Entry No. 39-1, pp. 34-36.
      5
           Id. at 34.
      6
           Id. at 35-36.

                                          -2-
      Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 3 of 10




        On     June     14,    2002,        Alexander       was    unable    to     locate    the
                                                                                                7
Acknowledgment or appraisal of the Property in her personal files.

Alexander sent Defendant a letter the next day requesting a copy of

the    Fair      Market       Value     Acknowledgment            from    their     files,    but

Defendant never responded. 8                 Alexander fell into default and Wells

Fargo initiated foreclosure.                       Alexander sued Wells Fargo in the

165th Judicial District Court of Harris County, Texas. 9                               The case

was     transferred           to     the     127th        Judicial       District     Court    of

Harris County, Texas, and Defendant subsequently removed the action

to this court. 10 Alexander asserted claims for Texas constitutional

violations, breach of contract, negligent misrepresentation, and

violation of the duty of good faith and fair dealing,                                   seeking

injunctive and declaratory relief. 11                       Wells Fargo moved to dismiss

all    of     Plaintiff's          claims    for    failure       to   state a      claim under

Rule       12 (b) (6)   arguing       that    the        claims   are    time-barred     and/or


       7
      See Petition, Exhibit E to Notice of Removal,                               Docket Entry
No. 6-5, p. 5 ~ 14.

      See id. ~ 15; Letter Re: Appraisal and FMV Acknowledgement
       8

[o]n Loan Number: 0010585743 dated June 15, 2002, from Alexander to
Defendant, Exhibit 3 to Petition, Docket Entry No. 6-5, p. 52.
       9
      See Petition, Exhibit E to Notice of Removal,                               Docket Entry
No. 6-5, pp. 2-31.
       10
      See Notice of Removal, Docket Entry No. 6; Transfer Order,
Exhibit I to Notice of Removal, Docket Entry No. 6-9.
       11
      See Petition, Exhibit E to Notice of Removal, Docket Entry
No. 6-5, pp. 20, 21, 23, 26.

                                                   -3-
    Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 4 of 10


                     12
otherwise fail.             The court granted the motion,                   dismissing the

action . 13   Alexander filed a motion for a new trial or to amend the

judgment, which the court denied. 14                    Alexander appealed two of her

claims to the Fifth Circuit: 15                   (1)    for a permanent injunction

preventing     the        fore-closure     sale,        and   (2)    for    forfeiture      as

provided under Article XVI,              Section 50(a) (6) (Q) (xi)           of the Texas

Constitution.        The Fifth Circuit affirmed the dismissal of the

forfeiture     claim,       but   held   that     the     quiet     title    claim   for    an

injunction was sufficiently pled, reversed the dismissal of that

claim, and remanded the action to this court. 16

      While this case was on appeal, Defendant's counsel delivered

a   copy of    the    Acknowledgment         to     Plaintiff's       former     counsel. 17

Plaintiff's      former        counsel     confirmed          that    he     emailed       the

Acknowledgment to Plaintiff "just after" it was provided to him. 18

      12
      See Defendant's Motion to Dismiss                       and Brief       in Support,
Docket Entry No. 18, p. 10.
      13
      See Memorandum Opinion and Order, Docket Entry No. 21, p. 3 9;
Final Judgment, Docket Entry No. 22.
      14
      See Motion for New Trial or Amendment of Judgement Rule 59 (a)
and Rule 59 (E) Federal Rules of Civil Procedure, Docket Entry
No. 23; Order Denying Motion for New Trial, Docket Entry No. 27.
      15
      See Notice of Appeal to U.S. Court of Appeals for the Fifth
Circuit, Docket Entry No. 28.
      16
      See Order of the United States Court of Appeals for the Fifth
Circuit, Docket Entry No. 34, p. 17.
      17
      See Declaration of Daron L. Janis, Exhibit 2 to Defendant's
MSJ, Docket Entry No. 39-2, p. 2 ~ 3.
      18
      See October 23, 2017, email from Jason P. Steed to Marc D.
Cabrera, Exhibit 3(B) to Declaration of Marc D. Cabrera ("Cabrera
Declaration"), Docket Entry No. 39-3, p. 15.

                                           -4-
     Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 5 of 10


Defendant sent another copy of the Acknowledgment to Plaintiff on

October 23,    2017. 19    Both parties have filed motions for summary

judgment for this claim. 20        Defendant filed a Response in Opposition

to Plaintiff's Motion for Summary Judgment on November 10,                        2017

(Docket Entry No. 40).           Plaintiff has not filed a response. 21


                           II.     Standard of Review

       Summary judgment is warranted if the movant establishes that

there is no genuine dispute as to any material fact and that it is

entitled to judgment as a matter of law.                 Fed. R. Civ. P. 56(a).

An   examination    of    substantive      law    determines      which   facts   are

material.     Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2510

(1986) .    Material facts are those facts               that   "might affect the

outcome of the suit under the governing law."               Id.    A genuine issue

as   to a   material      fact   exists    if    the   evidence   is   such that     a

reasonable trier of fact could resolve the dispute in the nonmoving

party's favor.      Id. at 2511.


      19
      Cabrera Declaration, Exhibit 3 to Defendant's MSJ, Docket
Entry No. 39-3, p. 2 ~ 3; October 23, 2017, letter to Alexander,
Exhibit 3(A) to Cabrera Declaration, Docket Entry No. 39-3, p. 5.
      20
      See Plaintiff's MSJ, Docket Entry No. 36; Defendant's MSJ,
Docket Entry No. 39.
      21
      0n December 8, 2017, Alexander filed Plaintiff's Motion for
Extension of Time to Answer or Respond to Defendants Motion for
Summary Judgement ("Motion for Extension") (Docket Entry No. 43)
seeking a 45-day extension.    The motion will be denied because
Plaintiff already filed her own motion for summary judgment, and
because the basis for Plaintiff's Motion for Extension- that on
September 18, 2017, her lawyer could no longer assist her - has
been known to Plaintiff for almost three months.

                                          -5-
   Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 6 of 10



        Where, as here, both parties have moved for summary judgment

both "motions must be considered separately, as each movant bears

the burden of establishing that no genuine issue of material fact

exists and that it is entitled to judgment as a matter of law."

Shaw Constructors v.        ICF Kaiser Engineers,        Inc.,    395 F. 3d 533,

538-39 (5th Cir. 2004).        The movant must inform the court of the

basis for summary judgment and identify relevant excerpts from

pleadings, depositions, answers to interrogatories, admissions, or

affidavits     that   demonstrate    there   are   no   genuine    fact   issues.

Celotex Corp. v. Catrett, 106 S. Ct. 2548, 2553               (1986); see also

Wallace v. Texas Tech Univ., 80 F.3d 1042, 1046-47 (5th Cir. 1996).

If a    defendant moves      for   summary judgment on the basis of an

affirmative defense,       "it must establish beyond dispute all of the

defense's essential elements."          Bank of Louisiana v. Aetna U.S.

Healthcare Inc., 468 F.3d 237, 241           (5th Cir. 2006).       A defendant

may also meet its initial burden by pointing out that the plaintiff

has failed to make a showing adequate to establish the existence of

an issue of material fact as to an essential element of plaintiff's

case.    Celotex Corp., 106 S. Ct. at 2552.         If the movant satisfies

its initial burden,        the burden shifts to the nonmoving party to

show    by   affidavits,    depositions,     answers     to   interrogatories,

admissions on file, or other evidence that summary judgment is not

warranted because genuine fact issues exist.              Celotex Corp., 106

s. Ct. at 2552.


                                      -6-
    Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 7 of 10



      In reviewing the evidence "the court must draw all reasonable

inferences in favor of the nonmoving party,                  and it may not make

credibility determinations           or weigh        the   evidence."      Reeves   v.

Sanderson Plumbing Products,              Inc., 120 S. Ct. 2097, 2110        (2000).

But conclusory claims, unsubstantiated assertions, or insufficient

evidence will not satisfy the nonmovant's burden.                  Wallace, 80 F.3d

at 1047.        If   the nonmovant        fails   to present specific evidence

showing there is a genuine issue for trial,                   summary judgment is

appropriate.         Topalian v.    Ehrman,       954 F.2d 1125,    1132   (5th Cir.

1992) .


                                   III.     Analysis

      Construed liberally, Plaintiff's complaint stated a claim for

quiet title based on Wells Fargo's failure to timely supplement a

missing Acknowledgment of Fair Market Value in violation of Texas

Constitution Section 50(a) (6) {Q) (ix) . 22           Alexander v. Wells Fargo

Bank, N.A., 867 F.3d 593, 600 (5th Cir. 2017).                Plaintiff argues in

her Motion for Summary Judgment that because Defendant allegedly

did not provide a written Acknowledgment and failed to cure the

alleged deficiency,        she is entitled to summary judgment on her
                                                                     23
quiet title claim seeking to preclude foreclosure.                         A suit to

remove cloud or to quiet title exists "'to enable the holder of the


      22
      See Order of the United States Court of Appeals for the Fifth
Circuit, Docket Entry No. 34, p. 10.
      23
           See Plaintiff's MSJ, Docket Entry No. 36, pp. 5-6, 8-9.

                                           -7-
      Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 8 of 10



feeblest equity to remove from his way to legal title any unlawful

hindrance having the appearance of better right.'"                Essex Crane

Rental Corp. v. Carter, 371 S.W.3d 366, 388              (Tex. App. -Houston

[1st Dist.]     2012, pet. denied); Hahn v. Love, 321 S.W.3d 517, 531

(Tex. App. -Houston [1st Dist.] 2009, pet. denied).              The plaintiff

has the burden of proof to establish her superior equity and right

to relief.      Id.   To do so "the plaintiff must show (1) an interest

in a specific property,       (2) title to the property is affected by a

claim by the defendant, and (3) the claim, although facially valid,

is invalid or unenforceable."           Vernon v. Perrien, 390 S.W.3d 47,

61-62 (Tex. App.- El Paso 2012, no pet.)              (citation omitted).     The

plaintiff must recover on the strength of her own title, not on the

weakness of a defendant's title.         Hurd v. BAC Home Loans Servicing,

LP,    880 F. Supp.    2d 747,   767   (N.D.   Tex.   2012); Ventura v. Wells

Fargo Bank, N.A., No. 4:17-CV-075-A, 2017 WL 1194370, at *2 (N.D.

Tex. March 30, 2017); Martin v. Amerman, 133 S.W.3d 262, 265 (Tex.

2004); Hejl v. Wirth, 343 S.W.2d 226, 226 (1961).

       Section 50(c) of the Texas Constitution states that:

        [n]o mortgage, trust deed, or other lien on the homestead
       shall ever be valid unless it secures a debt described by
       this section, whether such mortgage, trust deed, or other
       lien, shall have been created by the owner alone, or
       together with his or her spouse, in case the owner is
       married. .

Tex. Const. art. XVI§ 50(c).           Section 50(a) (6) (Q) (ix) states that

the extension of credit must be made on the condition that "the

owner of the homestead and the lender sign a written acknowledgment

                                       -8-
     Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 9 of 10



as to the fair market value of the homestead property on the date

the extension of credit is made."                     Id.       §    SO (a) (6)       (Q)   (ix).     A lien

securing a constitutionally noncompliant home-equity loan is not

valid before the defect is cured.                    Wood v. HSBC Bank USA, N.A. SOS

S.W.3d S42, S47 (2016).               Section SO (a) (6)            (Q)   (x) gives the lender 60

days to cure the violation after notice, but the borrower has no

corresponding deadline by which it must request cure and no statute

of limitations applies to a homeowner's right to quiet title under

Section so (c) .      Tex.      Const.     art.      XVI    §       SO(a) (6) (Q) (x); Wood sos

S.W.3d at S49-SO.

      The defect Plaintiff complains of - lack of an Acknowledgment

of   Fair    Market        Value 24        was    not       in            fact   a      defect.            The

Acknowledgment was executed in connection with Plaintiff's home-

equity Loan on September 1S, 1998. 25                   Because the Loan included an

Acknowledgment        of     Fair      Market     Value         signed           by     Plaintiff          and

notarized,    the     Loan      did      not    violate             Section       SO (a) (6)        (Q)   (ix).

Therefore,    Plaintiff cannot prove that Defendant has asserted an

invalid claim or encumbrance impairing Plaintiff's title to the

Property as required to prevail on a quiet title claim.                                         Plaintiff

alleges in her Petition and Motion for Summary Judgment that there

was no written acknowledgment, but without any supporting evidence


      24
      See Petition, Exhibit E to Notice of Removal, Docket Entry
No. 6-S, pp. 20-21; Plaintiff's MSJ, Docket Entry No. 36, p. 9.
      25
      See Acknowledgment, Exhibit 1 (C) to Penno Declaration, Docket
Entry No. 39-1, p. 34.

                                               -9-
   Case 4:15-cv-01596 Document 44 Filed in TXSD on 12/12/17 Page 10 of 10



this allegation does not create a genuine issue of material fact.

The summary judgment evidence proves that an Acknowledgment of Fair

Market Value was fully executed at the time of closing.           Defendant

is therefore entitled to summary judgment.


                     IV.    Conclusions and Order

     Plaintiff's Motion for Extension of Time to Answer or Respond

to Defendant's Motion for Summary Judgment (Docket Entry No. 43) is

DENIED.

     For   the   reasons   discussed   above,    Plaintiff's    Motion      for

Summary Judgment    (Docket Entry No. 36)       is DENIED and Defendants'

Motion for Summary Judgment       (Docket    Entry No.   3 9)   is GRANTED.

Accordingly, this action will be dismissed with prejudice.

     SIGNED at Houston, Texas, on this 12th day of December, 2017.




                                                      SIM LAKE
                                            UNITED STATES DISTRICT JUDGE




                                   -10-
